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11
12                       UNITED STATES DISTRICT COURT
13
14                     CENTRAL DISTRICT OF CALIFORNIA
15                                  (Eastern Division)
16
      HEREDIA BOXING MANAGEMENT, Case No.: 5:20-cv-02618-JWH-KKx
17
      INC.; & MOSES HEREDIA,
18                                JOINT STIPULATION AND
                Plaintiffs,       REQUEST TO GRANT LEAVE
19    vs.                         FOR PLAINTIFF TO FILE sECOND
20                                AMENDED COMPLAINT
21    MTK GLOBAL SPORTS
22    MANAGEMENT, LLC; GOLDEN BOY Filed Concurrently with [PROPOSED]
      PROMOTIONS, INC.; PAUL D.   Order
23    GIBSON; and DANIEL KINAHAN,
24                                Courtroom: 2
                Defendants.       Judge:      Hon. John W. Holcomb
25
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27
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                                     JOINT STIPULATION AND REQUEST TO GRANT
                       LEAVE FOR PLAINTIFF TO FILE SECOND AMENDED COMPLAINT
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 1         JOINT STIPULATION AND REQUEST TO GRANT LEAVE FOR
 2               PLAINTIFF TO FILE SECOND AMENDED COMPLAINT
 3          Plaintiff, Moses Heredia, and Defendant Golden Boy Promotions, Inc., a
 4    California Corporation, submit the following Joint Stipulation and request that the
 5    Court grant Plaintiff leave to 1) remove plaintiff Heredia Boxing Management,
 6    Inc., a California Corporation from this action, 2) add MTK Global USA, LLC, a
 7    Delaware Limited Liability Company to this action, and 3) make additional
 8    amendments and file a Second Amended Complaint pursuant to Rule 15(a) of the
 9    Federal Rules of Civil Procedure.
10          Defendant MTK Global Sports Management, LLC, a Dubai, UAE limited
11    liability corporation, has been served, but has not yet entered an appearance or
12    been responsive to communications from Plaintiff.
13          Defendant Mr. Daniel Kinahan, currently residing in Dubai, UAE, has been
14    served, but has not yet entered an appearance or been responsive to
15    communications from Plaintiff.
16          Defendant Mr. Paul D. Gibson is currently being served through the Hague
17    Service Convention. Mr. Gibson has not responded to any email communications
18    from Plaintiff.
19          Defendant VGC, LLP was voluntarily dismissed pursuant to Fed. R. Civ. P.
20    41. See ECF No. 29.
21          The parties stipulate with reference to the following facts:
22          1.     Plaintiffs Heredia Boxing Management, Inc. and Moses Heredia
23    (“Plaintiffs”) filed the operative Amended Complaint on January 18, 2021;
24          2.     In the interest of efficiency and judicial economy Defendant Golden
25    Boy Promotions, Inc. (“Golden Boy”), Golden Boy agreed to execute a Waiver of
26    Service of Summons, with a response deadline of April 2, 2021 pursuant to Federal
27    Rule of Civil Procedure 4(d).
28          3.     On March 26 and 30, April 8 and 15, May 13, and 19, June 11 and 17,


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 1    and July 15, 2021, counsel for Golden Boy met and conferred with counsel for
 2    Plaintiffs regarding Golden Boy’s intention to file a Motion to Dismiss in response
 3    to the Amended Complaint pursuant to Local Rule 7-3. In order to address issues
 4    raised by Golden Boy during the meet and confer, Plaintiffs considered filing a
 5    Second Amended Complaint. Plaintiff’s sent a revised draft Second Amended
 6    Complaint to Golden Boy for their review on July 15, 2021. This revised draft
 7    contained additional information recently obtained at a June 10, 2021 arbitration
 8    with the California State Athletic Commission in the matter of the arbitration
 9    between Moses Heredia and Joseph Diaz, Jr and also contained new information in
10    the July 10, 2021 decision from the arbitrator.
11          4.     The parties have met and conferred regarding the addition of
12    defendant MTK Global USA, LLC and the removal of Heredia Boxing
13    Management, Inc. in plaintiff’s proposed Second Amended Complaint and
14    Defendant Golden Boy has agreed, without waiver of any of its defenses or
15    objections to the allegations contained therein, that Plaintiff should be permitted to
16    file the Second Amended Complaint.
17          5.     Under Federal Rules of Civil Procedure, Rule 15(a), leave to amend
18    the complaint should be granted “freely given when justice so requires.” Thus,
19    leave is granted unless the amendment causes prejudice to the opposing party, is
20    sought in bad faith, is futile, or creates undue delay. Ascon Properties, Inc. v.
21    Mobil Oil Co., 866 F.2d 1149, 1160 (9th Cir. 1989). As the Supreme Court
22    explained:
23          If the underlying facts or circumstances relied upon by a plaintiff may
24          be a proper subject of relief, he ought to be afforded an opportunity to
25          test his claim on the merits. In the absence of any apparent or declared
26          reason -- such as undue delay, bad faith or dilatory motive on the part
27          of the movant, repeated failure to cure deficiencies by amendments
28          previously allowed, undue prejudice to the opposing party by virtue of


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 1           allowance of the amendment, futility of amendment, etc. -- the leave
 2           sought should, as the rules require, be “freely given.” Of course, the
 3           grant or denial of an opportunity to amend is within the discretion of
 4           the District Court, but outright refusal to grant the leave without any
 5           justifying reason appearing for the denial is not an exercise of
 6           discretion; it is merely abuse of that discretion and inconsistent with
 7           the spirit of the Federal Rules.
 8    Foman v. Davis, 371 U.S. 178, 182 (1962).
 9           6.       There is no prejudice to any defendant. Golden Boy entered this joint
10    stipulation to grant leave for Plaintiff to file a Second Amended Complaint.
11    Defendants MTK Global Sports Management, LLC and Mr. Daniel Kinahan will
12    be served with a copy of the Second Amended Complaint and restart their time to
13    respond to the operative complaint. Mr. Paul Gibson will be served the Second
14    Amended Complaint through the Hague Service Convention. This case is still in
15    the early litigation stage. Defendants will have ample opportunity to respond to the
16    Second Amended Complaint and to conduct discovery related on the revised basis
17    of liability.
18           7.       The parties further agree that Golden Boy shall not be required to
19    respond to the currently operative Amended Complaint and shall have thirty (30)
20    days from the filing of the Second Amended Complaint to file any response
21    thereto.
22
23           NOW THEREFORE, the parties hereby stipulate and request that the Court
24    grant Plaintiff leave to file a Second Amended Complaint in this action, a true and
25    correct copy of which is attached as Exhibit A hereto
26           IT IS SO STIPULATED.
27    //
28    //


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        DATED: July 16, 2021                 FEDERAL PRACTICE GROUP
 1
 2                                           By: /s/ Rajan O. Dhungana
 3                                            RAJAN O. DHUNGANA (SBN 297794)
                                              ERIC S. MONTALVO (Pro Hac Vice)
 4                                            Attorneys for Plaintiffs HEREDIA
                                              BOXING MANAGEMENT, INC. and
 5                                            MOSES HEREDIA
 6
 7
        DATED: July 16, 2021                 GREENBERG GLUSKER FIELDS
 8                                           CLAMAN & MACHTINGER LLP
 9
10                                           By:
11                                            RICARDO P. CESTERO (SBN 203230)
                                              Attorneys for Defendant GOLDEN BOY
12                                            PROMOTIONS, INC.
13
14
15          Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer attests that all other
16    signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
17    content and have authorized the filing.
18
19
20      DATED: July 16, 2021                 FEDERAL PRACTICE GROUP
21
                                             By: /s/ Rajan O. Dhungana
22                                            RAJAN O. DHUNGANA (SBN 297794)
                                              ERIC S. MONTALVO (Pro Hac Vice)
23                                            Attorneys for Plaintiffs HEREDIA
                                              BOXING MANAGEMENT, INC. and
24                                            MOSES HEREDIA
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                                       JOINT STIPULATION AND REQUEST TO GRANT
                         LEAVE FOR PLAINTIFF TO FILE SECOND AMENDED COMPLAINT
